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                     EXHIBIT B
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                                                              Cathelene Robinson, Clerk




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